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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-01953-REB-NYW

   ELOY GARZA,

                 Plaintiff,

   v

   WESTERN STONE OF LYONS, LLC,
   PAUL W. FRYSIG,

                 Defendants.

   ______________________________________________________________________________

           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
   ______________________________________________________________________________
   Magistrate Judge Nina Y. Wang

          This matter comes before the court on the Motion to Dismiss First Amended Complaint

   (“Motion”) filed by Defendants Western Stone of Lyons, LLC (“Western Stone”) and Paul W.

   Frysig (“Frysig”) (collectively, the “Defendants”) on December 29, 2014 (the “Motion”) [#45].

   Pursuant to the Order of Reference [#15] dated October 21, 2014, the Order Referring Motion

   [#46] dated December 31, 2015, and the Reassignment [#49] dated February 10, 2015, the

   Motion was referred for recommendation to this Magistrate Judge. The court has carefully

   considered the motions and related briefing, and the applicable case law. For the following

   reasons, I respectfully RECOMMEND that Defendants’ Motion be DENIED.

                                        BACKGROUND

   I.     Plaintiffs’ Complaint

          Plaintiff Eloy Garza (“Plaintiff” or “Mr. Garza”) filed his original complaint in this

   matter on July 14, 2014. [#1]. On December 12, 2014, Plaintiff amended his complaint as a


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   matter of course pursuant to Fed. R. Civ. P. 15 (a)(1)(B). [#42] (“First Amended Complaint”).

   The following is a summary and recitation of the allegations contained in Plaintiff’s First

   Amended Complaint, which are presumed to be true insofar as Defendants’ Motion seeks

   dismissal for failure to state a claim and/or for failure to state sufficiently plausible jurisdictional

   allegations.

           Plaintiff Eloy Garza is a Colorado resident who “[i]n or around 2000 or 2001” entered

   into an employment contract with Western Stone. [#42 at ¶¶ 3, 8]. The employment relationship

   came to an end “in or about the summer of 2013.” [Id. at ¶ 9]. Western Stone has claimed that it

   is one of the “leading suppliers of finished and unfinished stone products in the country.” [Id. at

   ¶ 6].   In that capacity, Western Stone “provides finished stone (e.g., stone furniture and

   countertops), yard stone (e.g., for patios, retaining walls, garden borders or firepits), and stone

   for incorporation into structures (e.g., buildings, walls, and stairs).” [Id. at ¶ 7]. As a Western

   Stone employee, Mr. Garza “cut stone, weighed stone, created stone countertops and furniture,

   and moved stone throughout the Western Stone’s operation.” [Id. at ¶ 10].

           The finished and unfinished stone products Mr. Garza helped manufacture “moved, or

   could reasonably be expected to move, in interstate commerce.” [Id. at ¶ 22]. Accordingly, at

   one point, Western Stone’s website claimed that its “unique products have been used in many

   showcase homes and landscapes throughout the world,” and that “[o]ut-of-state deliveries are

   shipped using either UPS, DHL, Yellow Freight or Brokered Freight.” [Id.]. On the basis of

   “information and belief,” Plaintiff alleges that, “based on the size of Defendant Western Stone’s

   operations and the cost of the materials used by Western Stone, Western Stone had annual

   revenues in excess of $500,000 during the Plaintiff’s entire employment.” [Id. at ¶ 20].




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          Throughout the course of Mr. Garza’s employment at Western Stone, “Defendant Frysig

   was a member, manager, and agent of Defendant Western Stone.” [Id. at ¶ 11]. According to

   the Complaint, Western Stone and Mr. Frysig failed to pay Plaintiff overtime as required by

   applicable federal and state law, illegally withheld a portion of Plaintiff’s earnings for rent, and

   “fraudulently misreported Mr. Garza’s earnings to the IRS.” [Id. at ¶¶ 13-16].

          Based on these and other allegations, Plaintiff’s First Amended Complaint asserts federal

   claims under the Fair Labor Standards Act (“FLSA”) and for willful filing of fraudulent

   information returns pursuant to 26 U.S.C. § 7434. [Plaintiff also brings a number of related state

   law claims for breach of fiduciary duty and civil theft under the Colorado Trust Fund Act; willful

   withholding of wages in violation of the Colorado Wage Claim Act; recovery of overtime pay

   under the Colorado Wage Protection Act and the Wage Protection Act Rules promulgated by the

   Colorado Department of Labor and Employment, Division of Labor; breach of contract, or in

   alternative, promissory estoppel; and unjust enrichment or quantum meruit. Defendants contend

   that the court lacks subject matter jurisdiction over Plaintiff’s FLSA and 26 U.S.C. § 7434

   claims, and accordingly may not exercise supplemental jurisdiction over the state law claims.]

                                               ANALYSIS

   I.     Standard of Review

          A.      Subject Matter Jurisdiction

          Challenges to a court’s subject matter jurisdiction may take two forms: facial or factual.

   Facial attacks concern the sufficiency of a complaint as pled. Holt v. United States, 46 F.3d

   1000, 1002 (10th Cir. 1995) (citation omitted). In reviewing whether a complaint has pled

   sufficient facts to support subject matter jurisdiction on its face, the court accepts the allegations

   in the complaint as true. Id. When a party’s Rule 12(b)(1) motion challenges the facts upon



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   which subject matter depends, “a district court may not presume the truthfulness of the

   complaint’s factual allegations.” Sizova v. Nat'l Inst. of Standards & Tech., 282 F.3d 1320, 1324

   (10th Cir. 2002) (citation and quotations omitted). Instead, the court has “wide discretion to

   allow affidavits, other documents, and a limited evidentiary hearing to resolve disputed

   jurisdictional facts under Rule 12(b)(1).” Holt, 46 F.3d at 1003. Reliance on evidence outside

   the pleadings in addressing such a motion does not, as a general rule, convert the motion to one

   for summary judgment under Rule 56. Id. (citation omitted).

          The Tenth Circuit “recognize[s] an exception to this general rule, where the

   ‘jurisdictional question is intertwined with the merits of the case.’” Sizova, 282 F.3d at 1324

   (quoting Wheeler v. Hurdman, 825 F.3d 257, 259 (10th Cir. 1987)). In determining whether the

   jurisdictional question is intertwined with the merits of Plaintiffs’ case, the court inquires

   “whether the resolution of the jurisdictional question requires resolution of an aspect of the

   substantive claim.”    Sizova, 282 F.3d at 1324.        Similarly, when a party challenges a

   nonjurisdictional element of relief under applicable federal law, the court may properly convert

   the motion to dismiss for lack of subject matter jurisdiction to one for failure to state a claim

   pursuant to Rule 12(b)(6). See e.g., U.S. ex rel. Saunders v. Unisys Corp., No. 1:12–cv–00379

   (GBL/TCB), 2014 WL 1165869, at *5 (E.D. Va. Mar. 21, 2014). Under these circumstances, the

   court must convert a Rule 12(b)(1) motion to dismiss into a Rule 12(b)(6) motion to dismiss or a

   Rule 56 motion for summary judgment. Holt, 46 F.3d at 1003.

          B.      Failure to State a Cognizable Claim.

          The standard under Rule 12(b)(6) is well-known. A court may dismiss a complaint for

   “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding

   such a motion, the court must “‘accept as true all well pleaded factual allegations … and view



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   these allegations in the light most favorable to the plaintiff.’” Casanova v. Ulibarri, 595 F.3d

   1120, 1124 (10th Cir. 2010). (quoting Smith v. United States, 561 F.3d 1090, 1098 (10th Cir.

   2009)). However, a plaintiff may not rely on mere labels or conclusions in his pleadings, “and a

   formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic Corp. v.

   Twombly, 550 U.S. 544, 555 (2007) (Twombly). Instead, “a complaint must contain sufficient

   factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

   Iqbal, 129 S. Ct. 1937, 1949 (2009) (Iqbal). As the Tenth Circuit explained in Ridge at Red

   Hawk, L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007), “the mere metaphysical

   possibility that some plaintiff could prove some set of facts in support of the pleaded claims is

   insufficient; the complaint must give the court reason to believe that this plaintiff has a

   reasonable likelihood of mustering factual support for these claims.” The plaintiff must frame a

   complaint with enough factual matter, when taken as true, to suggest that he or she is entitled to

   relief. Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (quoting Twombly, 550 U.S.

   at 556). The ultimate duty of the court is to “determine whether the complaint sufficiently alleges

   facts supporting all the elements necessary to establish an entitlement to relief under the legal

   theory proposed.” Forest Guardians v. Forsgren, 478 F.3d 1149, 1160 (10th Cir. 2007).

   II.    FLSA Claim

          As an initial matter, the court considers whether Defendants’ Motion with respect to Mr.

   Garza’s claim for an FLSA violation is appropriately postured as a challenge to subject matter

   jurisdiction. Defendants seek dismissal of Plaintiff’s FLSA claim, arguing that Western Stone is

   not engaged in interstate commerce, and because its annual gross revenues are well below the

   $500,000 threshold, elements which it characterizes as “jurisdictional.” [#45 at 4]. Defendants

   also argue that Mr. Garza cannot proceed under the FLSA under the individual coverage



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   provisions because he did not engage in interstate commerce as part of his job duties. [Id.]

   Defendants urge the court to look past the pleadings to the affidavit of Paul W. Frysig, the owner

   of Western Stone, submitted in support of the Motion (“Frysig Affidavit”) that attests that

   Western Stone and Mr. Garza did not engage in interstate commerce and Western Stone’s annual

   gross revenues are below $500,000. [#45 at 4].

          Mr. Garza argues that a challenge to individual or enterprise coverage under the FLSA is

   non-jurisdictional. [#47 at 7].    I respectfully agree. In the context of analogous coverage

   requirements applicable to Title VII claims, the Supreme Court has held that, in instances where

   “Congress does not [clearly state that] a statutory limitation on coverage [is] jurisdictional, courts

   should treat the restriction as nonjurisdictional in character.” Arbaugh v. Y & H Corp., 546 U.S.

   500, 515-16 (2006). Accordingly, after Arbaugh, district courts have repeatedly held that the

   FLSA’s coverage requirements are nonjurisdictional. Courts across the country, including those

   in the Tenth Circuit, have consistently held that the question of whether individual or enterprise

   coverage applies is an element of a plaintiff's FLSA claim rather than a jurisdictional

   prerequisite. See, e.g., Velez v. Vassallo, 203 F. Supp. 2d 312, 330 (S.D.N.Y. 2002); Holland v.

   DA Tencil, Inc. et al., No. 3:14–CV–86, 2014 WL 3588520, *2 (S.D. Tex. July 21, 2014)

   (“Given the similarity between the FLSA’s gross-sales requirement [as to “enterprise” coverage]

   and Title VII's fifteen-employee requirement, the same result is warranted here.”); Lopez–

   Santiago v. Coconut Thai Grill, No. 3:13–CV–4268–D, 2014 WL 840052, *3 (N.D. Tex. Mar. 4.

   2014) (“[T]he FLSA provisions addressing enterprise coverage contain no language suggesting

   that the limitation on coverage is jurisdictional. . . . in the absence of such language, the court

   must treat enterprise coverage as an element of plaintiffs’ claim rather than a jurisdictional

   prerequisite.”) (internal quotation marks and citations omitted)); Hernandez v. Art Deco



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   Supermkt., No. 13–20705–CIV, 2013 WL 5532828, *2 (S.D. Fla. Oct. 4, 2013) (holding that the

   “interstate commerce requirements underlying both the individual and enterprise coverage claims

   are elements of the cause of action, not jurisdictional prerequisites”); Johnson v. Pleasant Green

   Missionary Baptist Church, Inc., No. 02-2493-JTM, 2013 WL 183735, *2 (D. Kan. Jan. 17,

   2013) (citing Butler v. Source Unlimited, Case No. CIV-10-572-M, 2010 WL 3515707 (W.D.

   Okla. Sept. 2, 2010)); Branham v. Halsted Home Rental, LLC, No. CIV-07-1133-M, 2008 WL

   1745825, *2 (W.D. Okla. Apr. 11, 2008).

          Defendants insist that the court can consider the Frysig Affidavit without converting the

   Motion to one for summary judgment. [#48 at 4]. I respectfully disagree. See Glunt v. Gatsby

   Entertainment, Inc., Civil Action No. 13-cv-02773-CMA-MJW, 2014 WL 536956, * 2 (D. Colo.

   Feb. 7, 2014) (finding that the issue of enterprise liability is intertwined with the merits, and

   therefore, must be considered under a summary judgment standard). And at this juncture, before

   any discovery has occurred on facts that appear to be in the possession of Defendants, summary

   judgment seems premature. Accordingly, I recommend finding that Defendants’ Motion should

   be reviewed as a nonjurisdictional merits-based challenge to Plaintiff’s FLSA claim, and I apply

   the Rule 12(b)(6) standard to Plaintiff’s FLSA claim.

          A.      Individual Coverage Under the FLSA

          The applicable minimum wage and overtime provisions of the FLSA apply to any

   employee “who in any workweek is engaged in commerce or in the production of goods for

   commerce.” 29 U.S.C. § 206(a) & 207(a)(1). On a plain reading of the relevant statutory

   language, this is a disjunctive requirement, such that an employee who participates in the

   “production of goods for commerce” comes within the scope of the FLSA’s “individual”

   coverage provisions—even if the employee himself is not “engaged in commerce” within the



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   meaning of the FLSA.        Under the FLSA, an employee is deemed to be “engaged in the

   production of goods if such employee was employed in producing, manufacturing, mining,

   handling, transporting, or in any other manner working on such goods, or in any closely related

   process or occupation directly essential to the production thereof, in any State.” 29 U.S.C. §

   203(j).    Accordingly, in Mitchell v. Central Produce Co., the Sixth Circuit found that an

   employee who worked as a night watchman for a fruit wholesaler that made 10% of its sales to

   out-of-state customers was engaged in the production of goods for commerce. 239 F.2d 377, 379

   (6th Cir. 1956). Moreover, the “for commerce” requirement is prospective, such that goods “are

   produced for commerce” within the meaning of the FLSA “where the employer intends, hopes,

   expects, or has reason to believe that the goods or any unsegregated part of them will move (in

   the same or in an altered form or as a part or ingredient of other goods)” in interstate commerce.

   29 C.F.R. § 776.21; see also D.A. Schulte, Inc. v. Gangi, 328 U.S. 108, 121 (1946) (relevant

   standard is whether producers had “reasonable grounds to anticipate that material quantities of

   their production would move interstate”); Mabee v. White Plains Publishing Co., 327 U.S. 178,

   180–81 (1946) (finding that FLSA applies to newspaper with a circulation of between 9,000 to

   11,000 copies where one-half of one percent of copies circulated out of state).

             Plaintiff’s alleges that he “cut stone, weighed stone, created stone countertops and

   furniture, and moved stone throughout the Western Stone’s operation,” [#42 at ¶ 10] and that the

   goods or materials including the stone cutting tools and the stone products produced were moved

   in or were produced for interstate commerce [id. at ¶¶ 21-22].          Taken together with the

   allegations that Western Stone represented on its website that it accepted out-of-state orders and

   that its “unique products have been used in many showcase homes and landscapes throughout the




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   world,” [id. at ¶ 22], the court finds that Plaintiff has pleaded sufficient facts at this stage to

   support individual coverage.

          B.      Enterprise Coverage

          Even if Plaintiff failed to state allegations sufficient to support “individual coverage”

   under the FLSA, his Complaint would still survive a pleadings challenge if it included sufficient

   allegations underlying enterprise coverage. 26 U.S.C. § 203(s)(1). Enterprise coverage applies

   if the employer has multiple employees (even employees other than the plaintiff himself or

   herself) engaged in commerce or the production of goods for commerce, and “is an enterprise

   whose annual gross volume of sales made or business done is not less than $500,000.” Id.

          For essentially the same reasons noted above, I find that Plaintiff has properly pled that

   Western Stone employed individuals engaged in the production of goods for commerce. [#42 at

   ¶¶ 21-22]. The question whether Plaintiff’s allegations as to the “gross volume or sales made or

   business done” are sufficient is closer. Upon review of the case law, I agree with the trial courts

   that have found that alleging sales in excess of $500,000 suffices, even if the remaining

   allegations in a plaintiff’s complaint to support the amount claimed are relatively sparse at the

   pleadings stage. See, e.g., Jackson v. Computer Confidence, Inc., 2010 WL 681228, at *4

   (W.D.N.Y. Feb. 23, 2010) (“Viewing all factual allegations in the Amended Complaint as true, I

   deny defendants’ motion to dismiss. Plaintiffs allege they are covered under the FLSA based on

   information and belief that defendant has annual gross sales of not less than $500,000 and that

   plaintiffs are individually covered because of their ‘regular use of the instrumentalities of

   commerce.’”). Accordingly, should the court reach the issue, I recommend finding that Plaintiff

   has sufficiently pled enterprise coverage in support of his FLSA claim.




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   III.   Plaintiff’s 26 U.S.C. § 7434 Claim

          Defendants’ only contention that the court lacks jurisdiction over Plaintiff’s 26 U.S.C. §

   7434 claim is again based on the fact that Western Stone purportedly does not ship its products

   in interstate commerce, and therefore, Western Stone is not subject to Congress’ Commerce

   Clause Authority. [#45 at 12-13]. First, nothing within the statute suggests that the statute

   requires that Western Stone be engaged in interstate commerce for the court to invoke federal

   question jurisdiction. 26 U.S.C. § 7434. See Williams v. Western Laundry Equip. LLC v.

   Williams, No. CIV-06-0569-JB/RLP, 2006 WL 4061164, *9 (D.N.M. Nov. 21, 2006) (agreeing

   that the court had original federal-question jurisdiction over the statutory claim based on 26

   U.S.C. § 7434).

          Though it is not entirely clear, to the extent that Defendants are arguing enforcement of

   that provision as to the Defendants would exceed Congress’s constitutional grant of authority

   under the Commerce Clause, they cite no authority that such a challenge would divest the court

   of jurisdiction. [#45 at 12-13]. Moreover, as the Tenth Circuit has previously explained in

   addressing a similar Commerce Clause-based challenge to Congress’s authority to regulate

   purportedly local conduct, provisions of “the Internal Revenue Code” are authorized “not by the

   Commerce Clause, but by the taxing provisions of the Constitution.” U.S. v. Boos, 166 F.3d

   1222, 1999 WL 12741, at *1 (10th Cir. 1999) (citing inter alia United States v. Lawson, 670

   F.2d 923, 927 (10th Cir. 1982) (congressional power to tax “embraces all conceivable powers of

   taxation”). In any case, I note that Defendants abandoned this argument in their Reply, and I

   have found no authority to recommend that the court dismiss Plaintiff’s 26 U.S.C. § 7434 based

   on lack of subject matter jurisdiction. In addition, because I find that the court has subject matter




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   jurisdiction over the federal claims, I conclude that there is no independent basis (and

   Defendants have provided none) to dismiss Plaintiff’s pendant state law claims.

                                                    CONCLUSION

            In making this Recommendation, the court does not pass on whether any of Plaintiff’s

   claims may survive summary judgment or whether Mr. Garza can ultimately prevail. Consistent

   with the reasons set forth herein, I respectfully RECOMMEND that Defendants’ Motion to

   Dismiss First Amended Complaint be DENIED in its entirety.1



   DATED: June 24, 2015                                            BY THE COURT:

                                                                   /s/ Nina Y. Wang__________
                                                                   United States Magistrate Judge




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     Within fourteen days after service of a copy of the Recommendation, any party may serve and file written
   objections to the Magistrate Judge’s proposed findings and recommendations with the Clerk of the United States
   District Court for the District of Colorado. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580,
   583 (10th Cir. 1995). A general objection that does not put the District Court on notice of the basis for the objection
   will not preserve the objection for de novo review. “[A] party’s objections to the magistrate judge’s report and
   recommendation must be both timely and specific to preserve an issue for de novo review by the district court or for
   appellate review.” United States v. One Parcel of Real Property Known As 2121 East 30th Street, Tulsa, Oklahoma,
   73 F.3d 1057, 1060 (10th Cir. 1996). Failure to make timely objections may bar de novo review by the District
   Judge of the Magistrate Judge’s proposed findings and recommendations and will result in a waiver of the right to
   appeal from a judgment of the district court based on the proposed findings and recommendations of the magistrate
   judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s decision to review a Magistrate
   Judge’s recommendation de novo despite the lack of an objection does not preclude application of the “firm
   waiver rule”); International Surplus Lines Insurance Co. v. Wyoming Coal Refining Systems, Inc., 52 F.3d 901, 904
   (10th Cir. 1995) (by failing to object to certain portions of the Magistrate Judge’s order, cross-claimant had waived
   its right to appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342, 1352 (10th Cir. 1992) (by
   their failure to file objections, plaintiffs waived their right to appeal the Magistrate Judge’s ruling). But see,
   Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th Cir. 2005) (firm waiver rule does not apply when the
   interests of justice require review).

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